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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
               v.                              :         Case No. 1:21-cr-00057-TNM
                                               :
NICHOLAS RODEAN,                               :
                                               :
                       Defendant.              :


                          MOTION IN LIMINE REGARDING
                    AUTHENTICATION OF CERTAIN VIDEO EVIDENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits the following motion in limine regarding the

authentication of certain video evidence at trial.

                                         BACKGROUND

       The riot at, and attack on, the United States Capitol Building was an event of unparalleled

size and scope. Much of the event was recorded on video: on surveillance footage captured by the

U.S. Capitol Police (“USCP”) cameras; on Metropolitan Police Department (“MPD”) body-worn

cameras; on cameras carried by journalists; and on cameras and phones operated by rioters. The

government’s case at trial will rely heavily on USCP camera footage to prove the defendant’s

specific conduct and the greater context in which it took place. Should the defense not stipulate

to the authenticity of this footage, the government will call an appropriate witness at trial. But the

government may also introduce footage from videos taken by other people on the scene; for this

set of video evidence, the government seeks a pretrial ruling on authenticity.

       Under Federal Rule of Evidence 901(a), “[t]o satisfy the requirement of authenticating or

identifying an item of evidence, the proponent must produce evidence sufficient to support a



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finding that the item is what the proponent claims it is.” Rule 901(b) provides a non-exhaustive

list of examples of evidence that satisfies this requirement. As relevant here, those examples

include:

       (3) Comparison by an Expert Witness or the Trier of Fact. A comparison with an
       authenticated specimen by an expert witness or the trier of fact.
       (4) Distinctive Characteristics and the Like. The appearance, contents, substance,
       internal patterns, or other distinctive characteristics of the item, taken together with
       all the circumstances.

Fed. R. Evid. 901(b)(3), (4).

       As a general matter, establishing an item’s authenticity is not “a particularly high hurdle.”

United States v. Ortiz, 966 F.2d 707, 716 (1st Cir. 1992); see also United States v. Vidacak, 553

F.3d 344, 349 (4th Cir. 2009) (“The burden to authenticate under Rule 901 is not high”); Link v.

Mercedes-Benz of N. Am., Inc., 788 F.2d 918, 927 (3d Cir. 1986) (“The burden of proof for

authentication is slight.”); United States v. Hassanshahi, 195 F. Supp. 3d 35, 48 (D.D.C. 2016)

(“The threshold for the Court’s determination of authenticity is not high, . . . and the proponent’s

burden of proof for authentication is slight[.]” (citation and quotation marks omitted)). Rule 901

“requires only a prima facie showing of genuineness and leaves it to the [finder of fact] to decide

the true authenticity and probative value of the evidence.” United States v. Harvey, 117 F.3d 1044,

1049 (7th Cir. 1997) (citing cases); see also, e.g., United States v. Belfast, 611 F.3d 783, 819 (11th

Cir. 2010) (“[A]uthentication itself is ‘merely . . . the process of presenting sufficient evidence to

make out a prima facie case that the proffered evidence is what it purports to be.’”) (quoting United

States v. Caldwell, 776 F.2d 989, 1002 (11th Cir. 1985)); Vidacek, 553 F.3d at 349 (“only a prima

facie showing is required”). Stated differently, “[t]he standard the district court must apply in

evaluating a document’s authenticity is whether there is enough support in the record to warrant a

reasonable person in determining that the evidence is what it purports to be.” United States v.



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Blanchard, 867 F.3d 1, 6 (1st Cir. 2017) (quoting United States v. Paulino, 13 F.3d 20, 23 (1st Cir.

1994)). Once that showing is made, “[t]he factual determination of whether evidence is that which

the proponent claims is ultimately reserved for the [finder of fact].” Vidacek, 553 F.3d at 349; see

also, e.g., Belfast, 611 F.3d at 819 (“Once that prima facie case is established, the evidence is

admitted and the ultimate question of authenticity is decided by the jury.”).

       To make out a prima facie showing of authenticity, “circumstantial evidence of authenticity

can be sufficient.” United States v. Bruner, 657 F.2d 1278, 1284 (D.C. Cir. 1981). See, e.g., United

States v. Broomfield, 591 F. App’x 847, 851 (11th Cir. 2014) (unpublished) (“Authentication may

be established ‘solely through the use of circumstantial evidence.’” (quoting United States v.

Smith, 918 F.2d 1501, 1510 (11th Cir. 1990)). And, importantly, the party seeking to admit

evidence need not “rule out all possibilities inconsistent with authenticity, or to prove beyond any

doubt that the evidence is what it purports to be.” United States v. Holmquist, 36 F.3d 154, 168

(1st Cir. 1994). Rather, “the government must only ‘demonstrate that, as a matter of reasonable

probability, possibilities of misidentification and adulteration have been eliminated.’” United

States v. Celis, 608 F.3d 818, 842 (D.C. Cir. 2010) (quoting United States v. Stewart, 104 F.3d

1377, 1383 (D.C. Cir. 1997)); see, e.g., United States v. Bowens, 938 F.3d 790, 794-95 (6th Cir.

2019) (explaining that “[a]nyone could have used the defendants’ Facebook accounts, just as the

pictures could have depicted the men smoking tobacco cigars, and ‘getting high’ could have been

a reference to skydiving,” but that there was sufficient circumstantial evidence “for the jury to

infer that the accounts belonged to the defendants, and that the defendants were the authors of the

posts about using marijuana”); Broomfield, 591 F. App’x at 852 (finding sufficient evidence of

authenticity even though “there was no testimony establishing that the recording equipment was

reliable or that the video was not altered or staged”).



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       In deciding preliminary questions about the admissibility of these videos, “[t]he court is

not bound by evidence rules, except those on privilege.” Fed. R. Evid. 104(a). In other words, the

government may rely upon otherwise inadmissible evidence in establishing the authenticity of the

video evidence described in this motion. See, e.g., United States v. White, 116 F.3d 903, 914 (D.C.

Cir. 1997). Of course, even with a pretrial ruling that evidence is authentic, and thus admissible,

the government must introduce sufficient evidence at trial from which a reasonable fact-finder

could reach the same conclusion regarding authenticity. See, e.g., United States v. Gammal, 831

F. App’x 539, 542 n.6 (2d Cir. 2020) (unpublished) (“Insofar as the District Court relied on non-

public information to make its preliminary determination, it did not err because it did not do so in

lieu of the presentation of sufficient authenticating public evidence later at trial.”); United States

v. Puttick, 288 Fed. App’x 242, 246 (6th Cir. 2008) (unpublished) (“It is permissible for the judge

to make a preliminary determination as to authentication, admit the evidence conditionally under

Rule 104(b), and then allow the jurors to be the final arbiters of whether it was actually

authenticated.”); United States v. Branch, 970 F.2d 1368, 1371 (4th Cir. 1992) (“Thus, even though

the district court may have ruled during an in camera proceeding that the proponent had presented

sufficient evidence to support a finding that a tape recording was authentic, evidence that would

support this same ruling must be presented again, to the jury, before the tape recording may be

admitted.”).

                                            ANALYSIS

       The government anticipates offering video clips from the United States Capitol Police, as

well as from sources other than the USCP. Some of these other sources include reporters who were

present in the Capitol that day, the defendant’s fellow rioters, or other members of the crowd.

Many of the videos were obtained through open-source means and are publicly available. For any



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such videos, the government will establish authenticity by asking the Court to compare it with

other, authenticated exhibits: in particular, USCP footage. Fed. R. Evid. 901(3). Police footage

will confirm that such videos are what they purport to be: recordings of the same events, captured

from a slightly different perspective, and in some cases depicting events and sounds that were not

captured by the USCP systems. In addition, the distinctive features of the interior of the Capitol

building and of the other individuals in the footage will help authenticate the videos. Id. at 901(4).

        One video in particular that the government may seek to offer is a video taken by another

person on the scene (and widely publicized on Youtube and other platforms) 1 at approximately the

same time that the defendant broke a window near the Senate Wing Doors of the Capitol building.

There was a two-paned window on each side of those doors; when looking at the windows from

inside the building, the window the defendant broke is to the right, and the window other rioters

broke is to the left. The government will introduce USCP video of the defendant breaking the

right-side window at roughly the same time that other rioters broke the left-side window; the

perspective of that USCP video will be from inside the building. The government also seeks to

introduce video from another person on the scene that captures precisely the same moment and the

same window-breaking as shown on the USCP video, but taken from the vantage point just outside

the building. This different perspective will be valuable in showing what the defendant himself

was perceiving shortly before, and during the time he was breaking his window, and generally

providing context to his conduct.




1
 The full video is available on Youtube, here: https://www.youtube.com/watch?v=jtPmi4BShNM (last accessed
Apr. 1, 2022).

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       Here is a screenshot from USCP video of both windows being broken – a wooden beam is

protruding into the left-side window, and the defendant, although not yet visible, is approaching

the right-side window:




       Here is a screenshot from another person’s video, at roughly the same moment as the above

screenshot, showing the same event from just outside the left-side window – as evident from the

wooden beam that protrudes partially into the building:




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       Should the government elect to offer other video clips taken by other persons present in

the crowd, the government will file a supplement prior to trial detailing the clips to be used and

the factors supporting authenticity of those clips.

                                          CONCLUSION

       For the reasons stated herein, the government respectfully requests that this Court rule in

limine that the government’s video evidence from non-USCP sources satisfies the authenticity

requirement of Fed. R. Evid. 901.

                                               Respectfully submitted,

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